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       FIRST AMENDED COMPLAINT UNDER 29 U.S.C. §§ 201- 216
           OVERTIME AND MINIMUM WAGE VIOLATIONS

                   Exhibit A – Redlined Version of Complaint




FIRST AMENDED COMPLAINT                                               EXHIBIT A
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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


FRANCISCO VELAZQUEZ, and all     §
others similarly situated under  §
29 U.S.C. 216 (b),               §
Plaintiff,                       §
                                 §
v.                               §                        Cause No. 3:15-cv-03170-M
                                 §
EL POLLO REGIO IP, LLC,          §
EL POLLO REGIO MANAGEMENT, LLC, §
EL POLLO REGIO, INC.,            §
DISTRIBUIDORA EL REGIO, INC.,    §
EL POLLO REGIO FRANCHISING, LLC, §
EL POLLO REGIO HOLDINGS, LP,     §
EL POLLO REGIO HOLDINGS GP, LLC, §
RICARDO CAMARENA                 §
and JUAN J. BAZALDUA             §
Defendants.                      §


             FIRST AMENDED COMPLAINT UNDER 29 U.S.C. §§ 201- 216
                               OVERTIME
                      AND MINIMUM WAGE VIOLATIONS

   Plaintiff, FRANCISCO VELAZQUEZ, on behalf of himself and all others similarly situated

under 29 U.S.C. § 216(b), through undersigned counsel, files this First Amended Complaint

against Defendants EL POLLO REGIO IP, LLC, EL POLLO REGIO MANAGEMENT, LLC,

EL POLLO REGIO, INC., DISTRIBUIDORA EL REGIO, INC., EL POLLO REGIO

FRANCHISING, LLC, EL POLLO REGIO HOLDINGS, LP, EL POLLO REGIO HOLDINGS

GP, LLC, RICARDO CAMARENA and JUAN J. BAZALDUA and alleges:

1. This is an action arising under the Fair Labor Standards Act 29 U.S.C. §§ 201-216.
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2. The Defendant EL POLLO REGIO IP, LLC is a company that regularly transacts business              Formatted: Font: 10 pt, Small caps
                                                                                                    Formatted: Font: 10 pt, Small caps
   within Dallas County. Upon information and belief, the defendant company was the joint
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   FLSA employer for Plaintiff’s respective period of employment (“the relevant time period”).      Auto, 0.5 pt Line width)

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3. The Defendant EL POLLO REGIO MANAGEMENT, LLC is a company that regularly

   transacts business within Dallas County. Upon information and belief, the defendant

   company was the joint FLSA employer for Plaintiff during the relevant time period.

4. The Defendant EL POLLO REGIO INC. is a corporation that regularly transacts business

   within Dallas County. Upon information and belief, the defendant corporation was the joint

   FLSA employer for Plaintiff during the relevant time period.

5. The Defendant DISTRIBUIDORA EL REGIO, INC. is a corporation that regularly transacts

   business within Dallas County. Upon information and belief, the defendant corporation was

   the joint FLSA employer for Plaintiff during the relevant time period.

6. The Defendant EL POLLO REGIO FRANCHISING, LLC is a company that regularly

   transacts business within Dallas County. Upon information and belief, the defendant

   company was the joint FLSA employer for Plaintiff during the relevant time period.

7. The Defendant EL POLLO REGIO HOLDINGS, LP is a company that regularly transacts

   business within Dallas County. Upon information and belief, the defendant company was the

   joint FLSA employer for Plaintiff during the relevant time period.

8. The Defendant EL POLLO REGIO HOLDINGS GP, LLC is a company that regularly

   transacts business within Dallas County. Upon information and belief, the defendant

   company was the joint FLSA employer for Plaintiff during the relevant time period.

6.9.The individual Defendant JUAN J. BAZALDUA is a corporate officer and/or owner and/or

   manager of one or more of EL POLLO REGIO IP, LLC, EL POLLO REGIO

   MANAGEMENT, LLC, EL POLLO REGIO, INC., DISTRIBUIDORA EL REGIO, INC..,
                                                                                                 Formatted: Font: 10 pt, Small caps
   EL POLLO REGIO FRANCHISING, LLC, EL POLLO REGIO HOLDINGS, LP, EL                              Formatted: Font: 10 pt, Small caps
                                                                                                 Formatted: Font: 10 pt, Small caps
   POLLO REGIO HOLDINGS GP, LLC (collectively, the “Defendant Companies”) who ran                Formatted: Font: 10 pt, Small caps
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   the day-to-day operations of the Defendant Companies for the relevant time period and was

   responsible for paying Plaintiff’s wages for the relevant time period and controlled Plaintiff’s

   work and schedule and was therefore Plaintiff’s employer as defined by 29 U.S.C. § 203(d).

7.10. The individual Defendant RICARDO CAMARENA is a corporate officer and/or owner

   and/or manager of DISTRIBUIDORA EL REGIO, INC. who ran the day-to-day operations

   of DISTRIBUIDORA EL REGIO, INC. for the relevant time period and was responsible for

   paying Plaintiff’s wages for the relevant time period and controlled Plaintiff’s work and

   schedule and was therefore Plaintiff’s employer as defined by 29 U.S.C. § 203(d).

8.11. Acts or omissions giving rise to this dispute took place in the Northern District of Texas.

                     COUNT I. FEDERAL OVERTIME WAGE VIOLATION

9.12. This action arises under the laws of the United States. This case is brought as a collective

   action under 29 U.S.C. § 216(B). It is believed that the Defendants have employed other

   similarly situated employees like the Plaintiff who have not been paid overtime and

   minimum wages for work performed in excess of 40 hours weekly from the filing of this

   complaint back three years.

10.13. This Court has jurisdiction pursuant to 28 U.S.C. § 1331 as this case is brought pursuant

   to The Fair Labor Standards Act, 29 U.S.C. §§ 201-219 (section #216 for jurisdictional

   placement).

11.14. 29 U.S.C. § 207(a)(1) states, "if an employer employs an employee for more than forty

   hours in any work week, the employer must compensate the employee for hours in excess of

   forty at the rate of at least one and one half times the employee's regular rate…."
                                                                                                      Formatted: Font: 10 pt, Small caps
12.15. Plaintiff, FRANCISCO VELAZQUEZ, worked for Defendants as a delivery driver and                 Formatted: Font: 10 pt, Small caps
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   warehouse worker from on or about December 28, 2009 through on or about September 25,              Formatted: Font: 10 pt, Small caps
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   2015.

13.16. Defendants’ business activities involve those to which the Fair Labor Standards Act

   applies. Both the Defendants’ business and Plaintiff’s work for the Defendants affected

   interstate commerce for the relevant time period. Plaintiff’s work for the Defendants affected

   interstate commerce for the relevant time period because the materials and goods that

   Plaintiff handled and/or used on a constant and/or continual basis and/or that were supplied

   to Plaintiff by the Defendants to use on the job moved through interstate commerce prior to

   and/or subsequent to Plaintiff’s use of the same. Plaintiff’s work for the Defendants was

   actually in and/or so closely related to the movement of commerce while he worked for the

   Defendants that the Fair Labor Standards Act applies to Plaintiff’s work for the Defendants.

14.17. Upon information and belief, the Defendant Companies had gross sales or business done,

   individually and/or collectively as part of the joint enterprise described in paragraph 20

   below, in excess of $500,000 annually for the years 2009, 2010, 2011, 2012, 2013, and 2014.

15.18. Upon information and belief, the Defendant Companies’ sales or business done,

   individually and/or collectively as part of the joint enterprise described in paragraph 20

   below, is expected to exceed $500,000 for the year 2015.

16.19. Furthermore, Defendants regularly employed two or more employees for the relevant

   time period who handled goods or materials that travelled through interstate commerce, or

   used instrumentalities of interstate commerce, thus making Defendants’ businesses an

   enterprise covered under the Fair Labor Standards Act.

20. Upon information and belief, Defendants EL POLLO REGIO IP, LLC, EL POLLO REGIO
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   MANAGEMENT, LLC, EL POLLO REGIO, INC., DISTRIBUIDORA EL REGIO, INC.,                             Formatted: Font: 10 pt, Small caps
                                                                                                    Formatted: Font: 10 pt, Small caps
   EL POLLO REGIO FRANCHISING, LLC, EL POLLO REGIO HOLDINGS, LP, EL                                 Formatted: Font: 10 pt, Small caps
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   POLLO REGIO HOLDINGS GP, LLC are part of a joint enterprise as defined by 29 U.S.C.

   § 203(r) as the related activities between the various businesses, performed through unified

   operation and/or common control, are being done for a common business purpose. These

   entities are involved in various aspects of the “El Pollo Regio” branded Mexican food

   business; including, e.g., distribution, restaurant operations, and franchising. This enterprise

   is believed to include a number of other business entities, including but not limited to: RCNC

   Investments LLC, Camo Investments, LLC, RDMEPR LLC, and Bodi Restaurants LLC.

21. From on or about December 28, 2009 through on or about September 6February, 2015,

   Plaintiff, FRANCISCO VELAZQUEZ, worked an average of 60 hours a week and was paid

   a lump sum salary resulting in an average effective hourly rate of $11.00 per hour but was

   not paid the extra half-time rate for any overtime hours worked above 40 hours as required

   by the Fair Labor Standards Act. Plaintiff therefore claims the half-time overtime rate for

   each overtime hour worked.

17.22. From on or about February, 2015 through on or about September 6, 2015, Plaintiff,

   FRANCISCO VELAZQUEZ, worked an average of 45 hours a week, except for a period

   during which Plaintiff was on leave and received vacation pay, and was paid a lump sum

   salary resulting in an average effective hourly rate of $13.00 per hour but was not paid the

   extra half-time rate for any overtime hours worked above 40 hours as required by the Fair

   Labor Standards Act. Plaintiff therefore claims the half-time overtime rate for each overtime

   hour worked.

18.23. From on or about September 7, 2015 through on or about September 25, 2015, Plaintiff,
                                                                                                       Formatted: Font: 10 pt, Small caps
   FRANCISCO VELAZQUEZ, worked an average of 60at least 2.65 hours a weekof overtime                   Formatted: Font: 10 pt, Small caps
                                                                                                       Formatted: Font: 10 pt, Small caps
   and was paid nothing at all for any of the hours he worked. until after this lawsuit was filed in   Formatted: Font: 10 pt, Small caps
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    violation of the Fair Labor Standards Act. Plaintiff therefore claims the half-time overtime

    rate for each overtime hour worked above 40 hoursdamages as requiredallowed by the Fair

    Labor Standards Act based on either the Federal Minimum Wage of $7.25 per hour or his

    regular average wage of $11.00 per hourfor each overtime hour worked.

19.24. Defendants willfully and intentionally refused to pay Plaintiff’s overtime wages as

    required by the Fair Labor Standards Act as Defendants knew of the overtime wage

    requirements of the Fair Labor Standards Act and recklessly failed to investigate whether

    Defendants’ payroll practices were in accordance with the Fair Labor Standards Act.

    Defendants remain owing Plaintiff these wages since the commencement of Plaintiff’s

    employment with Defendants for the time period specified above.


    Wherefore, Plaintiff requests double damages and reasonable attorney fees from Defendants,

pursuant to the Fair Labor Standards Act as cited above, to be proven at the time of trial for all

overtime wages still owing from Plaintiff’s entire employment period with Defendants or as

much as allowed by the Fair Labor Standards Act along with court costs, interest, and any other

relief that this Court finds reasonable under the circumstances. The Plaintiff requests a trial by

jury.

                      COUNT II. FEDERAL MINIMUM WAGE VIOLATION

    COMES NOW PLAINTIFF, through Counsel, and re-adopts the factual and jurisdictional

statements in paragraphs 1-1924 above and further states:

20.25. 29 U.S.C. § 206(a)(1) states "..an employer must pay a minimum wage of $5.15/hr to an
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    employee who is engaged in commerce...” [29 U.S.C. § 206(a)(1)]". On July 24, 2007
                                                                                                     Formatted: Font: 10 pt, Small caps

    Federal minimum wage was raised to $5.85/hr. On July 24, 2008, Federal minimum wage              Formatted: Font: 10 pt, Small caps
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    was raised to $6.55/hr. On July 24, 2009, Federal minimum wage was raised to $7.25/hr.           Formatted: Border: Top: (Single solid line,
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21.26. From on or about September 7, 2015 through on or about September 25, 2015, Plaintiff

   was paid nothing at all for any of the hours he worked. until after this lawsuit was filed. Said

   failure to timely pay wages is in violation of the Fair Labor Standards Act as said payment

   did not timely meet the applicable Federal Minimum Wage required for said period of time.

   Therefore, Plaintiff claims the difference between the amount paid to Plaintiff and the

   applicable Federal Minimum Wage for each hour worked during approximately the last two

   weeks of Plaintiff’s employment with Defendantsdamages as allowed by the Fair Labor

   Standards Act for each hour worked but for which he was not timely paid.

22.27. Defendants willfully and intentionally refused to timely pay Plaintiff’s minimum wages

   as required by the Fair Labor Standards Act as Defendants knew of the Federal Minimum

   Wage requirements of the Fair Labor Standards Act and recklessly failed to investigate

   whether Defendants’ payroll practices were in accordance with the Fair Labor Standards Act.

   Defendants remainsremain owing Plaintiff damages for these wages since the

   commencement of Plaintiff’s employment with Defendants for the time period specified

   above.



   Wherefore, Plaintiff requests double damages and reasonable attorney fees from the                   Formatted: Justified


Defendants pursuant to the Fair Labor Standards Act and as cited above, to be proven at the time

of trial for all minimum wages still owingnot timely paid from Plaintiff’s entire employment

period with Defendants or as much as allowed by the Fair Labor Standards Act --whichever is
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greater along with court costs, interest, and any other relief that this Court finds reasonable under   First line: 0.25", Don't add space between
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the circumstances. The Plaintiff requests a trial by jury.                                              6"
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                                                     Respectfully submitted,

                                                 By: /s/ Robert Manteuffel
                                                    J.H. Zidell, Esq.
                                                    Texas Bar No.: 24071840
                                                    Email: zabogado@aol.com
                                                    Robert L. Manteuffel
                                                    State Bar No. 12957529
                                                    Email: rlmanteuffel@sbcglobal.net
                                                    Joshua A. Petersen
                                                    Texas Bar No. 24085524
                                                    Email: josh.a.petersen@gmail.com

                                                     J.H. ZIDELL, P.C.
                                                     6310 LBJ Freeway, Ste. 112
                                                     Dallas, Texas 75240
                                                     Tel: (972) 233-2264
                                                     Fax: (972) 386-7610
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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served on all counsel
and parties of record by electronic service in accordance with the local rules of the United States
District Court for the Northern District of Texas, Dallas Division this 5th day of June, 2017.

                                             s/ Joshua A. Petersen
                                             Joshua A. Petersen
                                             Counsel for the Plaintiff(s)


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